      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 1 of 20



                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN



MEREDITH D. DAWSON,

                     Plaintiff,

       v.                                             Civil Action No. 15-cv-475-jdp

GREAT LAKES EDUCATIONAL
LOAN SERVICES, INC., et al.,

                     Defendants.



               DEFENDANTS’ BRIEF IN OPPOSITION TO
 PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF UNPRODUCED CLASS
      MEMBER IDENTITIES, AND FOR CIVIL CONTEMPT SANCTIONS


                                    INTRODUCTION

       Defendants disagree with the contention at the heart of Plaintiff’s motion: that

certain borrowers at issue—dubbed the CAPGONE borrowers—are class members. In

Judge Crabb’s class-certification decision in September 2016, the Court ruled that the

claims of borrowers involved in the First Remediation Project were “too far removed

from the claims plaintiff alleged in her complaint” and held that Plaintiff would need

“to obtain leave to file an amended complaint” if she sought to pursue claims on behalf

of such borrowers. (Dkt. 85 at 9.) Plaintiff never did that.

       Now three years later, Class Counsel Mr. David Harris contends that these

borrowers are in fact class members who should receive class notice, despite Judge
       Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 2 of 20



Crabb’s order. When Mr. Harris notified Defendants of this contention on October 14,

2019, Defendants immediately began investigating and working to identify the

borrowers at issue. Defendants informed Mr. Harris that they were looking into the

issue. (Dkt. 282-4.) But before Defendants could respond substantively, and less than

two weeks after the issue was first raised, Mr. Harris sent Defendant’s counsel an email

indicating he would no longer meet and confer (Dkt. 282-5) and filed the motion hours

later. (Dkt. 280.)

       The motion is unnecessary and without merit. While these CAPGONE borrowers

are not class members, Defendants have no objection (and would have informed Mr.

Harris in the meet-and-confer process that they had no objection) to providing the class-

notice administrator with the names and contact information for the 10,765 CAPGONE

borrowers who had a standalone B-9 Forbearance capitalization applied to their

accounts years ago. (Pearson Decl. ¶ 11; Declaration of Tammy Kielhofer (“Kielhofer

Decl.”) ¶ 6.) Of those, 3,428 borrowers have already received notice of this case because

they otherwise fall within the class definition. (Kielhofer Decl. ¶ 6.) As far as

Defendants are concerned, Mr. Harris may send notice to the remaining non-class

members if he so chooses.

       None of this rises to the level of sanctionable conduct on the part of Defendants.

There is no clear and convincing evidence that Defendants failed to make a reasonable

and diligent effort to comply with an order of this Court. On February 4, 2019,


                                              2
        Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 3 of 20



Defendants provided names and contact information for over 129,000 absent class

members to KCC, in compliance with the Court’s order dated January 30, 2019 (Dkt.

197). (Declaration of Eric Pearson (“Pearson Decl.”) ¶ 2.) Most of the CAPGONE

borrowers are indisputably not class members—as they did not have a standalone B-9

Forbearance to which the Court limited the certified class in its August 2018 class-

certification order. (Dkt. 171 at 24.) And as to those CAPGONE borrowers who did have

such a capitalization at one point, which was removed following the First Remediation

Project, Judge Crabb’s order continues to control. (Dkt. 85 at 9.) Regardless, Defendants

were already in the process of identifying such borrowers when Mr. Harris halted the

meet-and-confer process last Friday night and filed this motion at 10:32pm. (Dkt. 285-5.)

        The Court should deny Plaintiff’s motion in its entirety.

                                     BACKGROUND

        The Court is familiar with the procedural and substantive developments in this

litigation from Defendants’ fully briefed summary-judgment motion. (Dkts. 217, 218,

235, 262.) This section focuses on the key points related to the present motion. (Dkts.

280.)

        A. First Remediation Project

        Shortly after Plaintiff filed this lawsuit in 2015, Defendant Great Lakes

Educational Loan Services, Inc. (“GLELSI”) conducted an independent investigation

into its interest-capitalization practices (Dkt. 199 ¶ 2), uncovering two technical


                                              3
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 4 of 20



programming errors in the way that GLELSI was then capitalizing interest. (Dkt. 199

¶¶ 3–4.) These errors affected capitalization transactions occurring in both standalone

B-9 Forbearance situations (a B-9 Forbearance not preceded or followed by another,

“capping” forbearance) and back-to-back B-9 Forbearance situations. Defendants

promptly informed both Plaintiff’s counsel and the Court in their answer of these

programming errors (Dkt. 24 ¶¶ 114–122) and proceeded to correct them and remove

improperly capitalized interest from student-loan borrowers’ accounts. (Dkt. 199 ¶5.)

This process involved Allen Werner, an Ad Hoc and Specialty Reporting Coordinator at

GLELSI, writing a complex computer program to scan for all borrowers who had had

interest capitalized within seven days of the end of a B-9 Forbearance period. (Dkt. 279

at 12.) The parties refer to Defendants’ effort in this regard as the First Remediation

Project.

       In her original class-certification motion, Plaintiff attempted to certify a class

consisting of all borrowers on whose accounts GLELSI had applied a B-9 Forbearance.

(Dkt. 54 at 1.) Judge Crabb denied Plaintiff’s motion, holding that her proposed class

definition was “overbroad” and ruling that any claims based on the programming

errors addressed by the First Remediation Project were “too far removed from the

claims plaintiff alleged in her complaint.” (Dkt. 85 at 5–6, 9.) The Court ordered that, if

Plaintiff wanted to include such claims in the case, she would “have to obtain leave to

file an amended complaint.” (Dkt. 85 at 9.) Plaintiff has never done that.


                                              4
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 5 of 20



       B. Second Remediation Project

       Plaintiff subsequently filed a renewed motion for class certification (Dkt. 89) in

which she contended that no interest whatsoever should be capitalized at the end of any

B-9 Forbearance period. (Dkt. 90 at 2 (“Defendants were always required to treat every

B-9 Forbearance as a Capitalization Exception (zero capitalization, always) rather than a

Capitalization Event (partial or total capitalization) during the Class Period.”).)

GLELSI’s understanding at the time was that the Department of Education’s regulations

prohibited the capitalization of interest that “accrued during [the B-9 Forbearance]

period,” but not the capitalization of interest that had accrued before the B-9

Forbearance period began. 34 C.F.R. § 682.211(f)(11) (“Interest that accrues during this

period is not capitalized.”); 34 C.F.R. § 685.205(b)(9) (same language).

       While Plaintiff’s renewed motion was pending, GLELSI received clarification

from the Department distinguishing between standalone and back-to-back B-9

Forbearances for capitalization purposes. The Department indicated that pre-

forbearance accrued interest should capitalize at the end of back-to-back B-9

Forbearances but not standalone B-9 Forbearances. (Dkt. 83-5.) Again, Defendants

promptly informed the Court and Plaintiff’s counsel of this new guidance from the

Department and set about adjusting borrowers’ accounts accordingly, under the

direction and supervision of the Department. (Dkt. 83; Dkt. 199 ¶¶ 9–34.) The parties

refer to this as the Second Remediation Project.


                                             5
       Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 6 of 20



       To identify accounts for the Second Remediation Project, Mr. Werner again wrote

a detailed computer program to scan for affected borrowers. (Dkt. 279 at 39.) In doing

this, Mr. Werner’s new scan began from the population of borrowers identified in his

scan for the First Remediation Project. (Dkt. 279 at 37–39.) Unlike his earlier scan, which

identified all borrowers who had had interest capitalized in connection with any B-9

Forbearance period, Mr. Werner’s new scan needed to isolate only those borrowers who

had had interest capitalized in connection with standalone B-9 Forbearances. (Dkt. 279

at 49.) As a control, Mr. Werner also checked to see whether the capitalization

transactions identified at the time of the First Remediation Project remained on

GLELSI’s live servicing system. (Dkt. 279 at 74.) His program identified those

capitalization transactions that no longer existed on GLELSI’s live system and were

listed in an output file labeled “CAPGONE.” 1

       C. Class Notice

       In August 2018, the Court certified the following class of student-loan borrowers:

              All persons who, between January 1, 2006 and the present: (i)
              were borrowers of a student loan issued under the Federal
              Family Education Loan Program (“FFEL” or “FFELP”), or of
              a student loan issued under the Federal Direct Loan Program
              (“Direct”); (ii) had their FFELP and/or Direct student loan(s)


1
 Mr. Werner did not investigate the exact cause for why a borrower’s capitalization transaction
was removed between the scans for the First and Second Remediation Projects. But as Mr.
Harris notes (Dkt. 281 at 6), the most obvious explanation is that it was removed as part of the
First Remediation Project, although it may be possible that some other circumstance unique to
the borrower’s account was at play.


                                               6
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 7 of 20



              serviced by Great Lakes Educational Loan Services, Inc. or
              Great Lakes Higher Education Corporation (collectively,
              “Great Lakes”); (iii) had Great Lakes place their FFELP and/or
              Direct student loan(s) in an administrative forbearance status
              for a period of up to 60 days that is not immediately preceded
              by another forbearance, deferment, or grace period,
              concurrent with the processing of their application for a
              deferment, forbearance, consolidation loan, or change in
              repayment plan; and (iv) had any amount of accrued interest
              capitalized at the end of the administrative forbearance
              period.

(Dkt. 171 at 24 (emphasis in original).)

       In response to the Court’s subsequent order regarding class notice, GLELSI

provided KCC with names and contact information for over 129,000 absent class

members. (Pearson Decl. ¶ 2.) To do so, GLELSI looked to the computer scans

performed by Mr. Werner in connection with the Second Remediation Project, as those

scans isolated capitalizations performed at the conclusion of standalone B-9

Forbearance periods (as opposed to back-to-back B-9 Forbearance periods). (Kielhofer

Decl. ¶ 3.) Beginning with the output files from Mr. Werner’s scans, another GLELSI

employee worked to create an Excel spreadsheet containing the names and contact

information for the student-loan borrowers involved in the Second Remediation Project.

(Kielhofer Decl. ¶ 2–3.) That spreadsheet was provided to KCC as the list of borrowers

to be notified. (Pearson Decl. ¶ 2.)




                                            7
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 8 of 20



       D. Request for Admission No. 2

       During his second deposition of GLELSI’s Rule 30(b)(6) witness on April 29,

2019, Mr. Harris asked GLELSI’s designee (Ms. Bridget Lapham) a number of questions

regarding the scans GLELSI used to identify the population of borrowers for the class

list provided to KCC on February 4, 2019. The scans consist of complex computer code,

and were designed by another individual, so Ms. Lapham was unable to answer one of

his questions from memory:

              Q. And so in that time, GLELSI would have taken the first
              remediation population and told the database to go get
              every borrower who’s in that population that, one, had a
              standalone B-9 forbearance and, two, had a capitalization
              occur at the end of that standalone B-9 forbearance, correct?

              A. So I don’t recall if it was scanning the full database or if it
              was scanning the initial files that we had already pulled. But
              the same general concept, yes.

              Q. So you’re not sure, but it’s possible that the second scan
              occurred on the database as it existed at the time of the scan?

              A. Correct.

              Q. . . . Is that something that GLELSI could verify upon
              further review?

              A. Absolutely.

(Dkt. 227, April 29, 2019 Lapham Dep. at 74:4-25.) The parties recessed for lunch a few

minutes after this exchange. (Id. at 76:3-9.) During lunch, Ms. Lapham conferred with

her colleagues at GLELSI and confirmed that GLELSI had begun with the output files

from the initial scans associated with the First Remediation Project to identify class


                                              8
       Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 9 of 20



members. When the deposition resumed after lunch, Thomas Shriner (one of

Defendants’ attorneys) told Mr. Harris that Ms. Lapham was now prepared to answer

this line of questioning, but Mr. Harris chose not to follow up:

               MR. SHRINER: Ms. Lapham has done some further research
               over the lunch hour to answer your question about scans. I
               won’t go beyond that. If you want to — if you want to, you
               can get it. If not, it’s up to you.

               MR. HARRIS: Okay.

               Q. Let’s talk about transfer borrowers who were identified as
               class members. If you look at paragraph 15 –

(Id. at 76:10-18.)

       Rather than getting an answer to his questions at Ms. Lapham’s deposition, Mr.

Harris served the Defendants with four requests for admission nine days later. (Pearson

Decl. ¶ 3.) Request for admission number 2 read as follows:

               Admit that Defendants did not produce to the Notice
               Administrator, on or before February 5, 2019, the names and
               contact information of certified Class members who: (1) had
               one or more Standalone B-9 Forbearance capitalization(s)
               occur during the Class Period; and (2) had all of their
               Standalone B-9 Forbearance capitalization(s) removed from
               their Account(s), after this Action commenced, by the
               remediation project described in the Declaration of Tammy
               Kielhofer. See Dkt. 66, ¶32.

       Although Mr. Harris characterizes this request for admission as “highly

specific,” “extremely precise,” and “pinpointed” to the CAPGONE issue (see Pls.’ Br. 3,

7, 11 & 15), the request never mentions CAPGONE borrowers. Defendants read the

request for admission against the backdrop of the issue that Mr. Harris left unresolved

                                            9
         Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 10 of 20



at Ms. Lapham’s deposition (Pearson Decl. ¶ 3), and they provided Mr. Harris with the

answer that Ms. Lapham was prepared to offer during her deposition—namely, that

Defendants used the scans taken immediately before the First Remediation Project as

the starting point to identify class members, rather than scans based on the live system,

as it existed immediately before the start of the Second Remediation Project:

                Deny. Great Lakes provided the Notice Administrator, on
                February 4, 2019, with the names and contact information of
                all certified Class members who had a Standalone B-9
                Forbearance capitalization existing on their Account(s) as of
                September 2015. To identify all certified class members, Great
                Lakes scanned its database as it existed before the
                remediation project described in the Declaration of Tammy
                Kielhofer (see Dkt. 66, ¶ 32).

(Dkt. 282-1.) Defendants continue to assert that they have provided the class-notice

administrator with the names and contact information for all members of the certified

class.

         Had Defendants’ counsel understood Mr. Harris to be seeking an admission that

CAPGONE borrowers were not included within the class list, they would have clarified

that such borrowers were not included on the list provided to KCC and, at that point,

explored Mr. Harris’s basis for asserting that those borrowers should receive notice. But

that is simply not how Defendants and their counsel understood the request. (Pearson

Decl. ¶ 3.)




                                             10
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 11 of 20



       E. Aborted Attempt To Meet and Confer

       Several months later, in August of this year, Mr. Harris served a set of written

requests for production on several issues. (Pearson Decl. ¶ 4.) Defendants responded to

these discovery requests and provided him with additional responsive documents.

(Pearson Decl. ¶ 4.) On September 24, 2019, counsel held a meet-and-confer conference

regarding Defendants’ responses. (Pearson Decl. ¶ 5.) Chief among Mr. Harris’s stated

concerns were another subset of borrowers who had experienced capitalizations in

connection with forbearance periods that he had not previously identified as being at

issue (known as FO-SUSP and FO-DELQ forbearances), whom he contended should be

treated as class members. (Pearson Decl. ¶ 5.) Defendants investigated and responded

to these allegations by letter on October 18, 2019. (Dkt. 282-4.) As of the date of the

current filing, Mr. Harris has not responded to Defendants’ letter regarding the FO-

SUSP and FO-DELQ borrowers. (Pearson Decl. ¶ 6.)

       In a letter dated October 14, Mr. Harris for the first time raised questions about

CAPGONE borrowers’ inclusion in the class list provided to KCC. (Dkt. 282-3.)

Defendants immediately investigated his contentions. This required a detailed analysis

of CAPGONE borrowers’ accounts, in order to isolate those CAPGONE borrowers who

had undergone a capitalization at the conclusion of a standalone B-9 Forbearance period

from those who had not. (Pearson Decl. ¶ 7–8.) Counsel for Defendants asked Mr.

Werner to write a new computer scan to do this, which required a substantial amount of


                                             11
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 12 of 20



time during Mr. Werner’s already busy work schedule. (Pearson Decl. ¶ 8.) Given Mr.

Harris’s explicit threats to bring a motion for sanctions (Dkt. 282-3 at 2–3), Defendants

then conducted additional due diligence to ensure the accuracy of the information that

Defendants intended to provide to him. (Pearson Decl. ¶ 9.) This required time and

considerable efforts on the part of GLELSI’s employees. (Kielhofer Decl. ¶ 4–6.)

       GLELSI has now identified 10,765 unique CAPGONE borrowers who underwent

a standalone B-9 Forbearance. (Kielhofer Decl. ¶ 5.) GLELSI then compared those

identified CAPGONE borrowers to the class-notice list provided to KCC on February 4,

2019, finding that 3,428 of the standalone CAPGONE borrowers had been included in

the class-notice list, while 7,337 had not. (Kielhofer Decl. ¶ 6.) While GLELSI was trying

to determine why some CAPGONE borrowers had received notice and others had

not—and, as Defendants were finalizing their response to Plaintiff’s latest contentions

—Mr. Harris sent Defendants’ counsel an email on Friday, October 25, at 8:25 p.m.,

announcing that he was “withdrawing [his] offer to stipulate” and that “[y]ou and your

clients’ credibility … is now thoroughly exhausted in my view.” (Dkt. 282-5 at 1.)

       Mr. Harris’s own email recognized that, by aborting the meet-and-confer

process, he was risking later learning that his motion was without merit. (Id. at 2 (“If

after we file our motion to compel and for sanctions, your clients somehow blow my

mind[, … I] will consider withdrawing Plaintiff’s forthcoming motion[.]”).) But,

throwing caution to the wind, he filed his motion to compel and for sanctions


                                            12
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 13 of 20



approximately two hours later, at 10:32 p.m. (Dkt. 280.) Had he continued to participate

in the meet-and-confer process, he would have learned earlier this week that, although

Defendants disagree with him on the merits of his position that these 7,337 borrowers

are class members, they were willing to produce the names and contact information of

the CAPGONE borrowers to KCC. (Pearson Decl. ¶ 10.)


                                        ARGUMENT

I.     The Court Should Not Find Defendants in Civil Contempt, Because They
       Have Not Violated the Class-Certification Order.

       Any finding of civil contempt must meet a high legal standard. The Plaintiff here

“must establish by clear and convincing evidence that (1) a court order sets forth an

unambiguous command; (2) the alleged contemnor violated that command; (3) the

violation was significant, meaning the alleged contemnor did not substantially comply

with the order; and (4) the alleged contemnor failed to make a reasonable and diligent

effort to comply.” SEC v. Hyatt, 621 F.3d 687, 692 (7th Cir. 2010). “[C]ivil contempt,”

furthermore, “‘should not be resorted to where there is [a] fair ground of doubt as to the

wrongfulness of the defendant’s conduct.’” Taggart v. Lorenzen, 139 S. Ct. 1795, 1801-02

(2019) (quoting California Artificial Stone Paving Co. v. Molitor, 113 U.S. 609, 618 (1885))

(emphasis in Taggart).

       Plaintiff’s submission does not satisfy any of the four elements. The first three

require that Plaintiff prove by clear and convincing evidence that Defendants have



                                              13
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 14 of 20



violated an “unambiguous” court order. Id. Simply stated, Plaintiff has not done that.

Mr. Harris argues that the certified class should include a small subset of student-loan

borrowers who, by virtue of the fix applied to the two programming errors in the First

Remediation Project, no longer had any interest capitalized on their accounts after a B-9

Forbearance period. This argument is in tension with the Court’s order certifying the

class, which explicitly required that a class member must have “had any amount of

accrued interest capitalized at the end of the administrative forbearance period[.]” (Dkt.

171 at 24.) At the time of the Court’s class-certification decision, which followed

completion of the First Remediation Project, CAPGONE borrowers did not have “any

amount of accrued interest capitalized” on their student-loan accounts.

       To support her motion for civil contempt, Plaintiff characterizes the First

Remediation Project as Defendants’ having “delet[ed] thousands of B-9 Forbearance

capitalizations mid-lawsuit.” 2 She simply presumes that these borrowers are class

members. (Pls.’ Br. at 8.) This runs headlong into the more fundamental problem with

her argument. Plaintiff overlooks entirely that the Court previously declined to

“certify…claims based on these two [programming] errors” that made up the First

Remediation Project because they were “too far removed from the claims plaintiff




2
  There is nothing improper about Defendants having removed interest capitalization
transactions from borrowers’ accounts. Plaintiff’s central allegation is that such transactions
harm student-loan borrowers.


                                                14
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 15 of 20



alleged in her complaint.” (Dkt. 85 at 9.) The Court specifically held that, “[i]f plaintiff

wishes to certify a class based on these alleged errors, she will have to obtain leave to

file an amended complaint.” Id. In other words, borrowers affected only by the First

Remediation Project were out of class bounds under the Plaintiff’s only operative

complaint. And that remains the case today. Plaintiff has not amended her complaint,

and the Court did not revisit this line of reasoning in its first class-certification decision

when it ultimately certified a class in 2018. (Dkt. 171; see also Minch v. City of Chicago, 486

F.3d 294, 301 (7th Cir. 2007) (“[T]he law of the case doctrine embodies the notion that a

court ought not to re-visit an earlier ruling in a case absent a compelling reason, such as

manifest error or a change in the law, that warrants re-examination.”)..)

       Plaintiff also fails to demonstrate by clear and convincing evidence the fourth

element needed for a finding of civil contempt—namely, that Defendants “failed to

make a reasonable and diligent effort to comply” with the Court’s class-certification

order. Hyatt, 621 F.3d at 692. First, as is undisputed, Defendants provided KCC with

names and contact information for over 129,000 absent class members within the one-

week deadline afforded by the Court’s order. (Pearson Decl. ¶ 2.) The fact that a small

subset of borrowers who Mr. Harris now argues should have been included in the class

list were not included in the list provided in February does not begin to prove that

Defendants’ compliance efforts were unreasonable.




                                              15
     Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 16 of 20



      Second, and more recently, Mr. Harris cut off the parties’ ability to resolve this

matter by completing the meet-and-confer process that they were engaged in when he

decided to pull the plug. Instead of allowing Defendants to demonstrate their efforts “to

make a reasonable and diligent effort to comply,” he preferred to litigate through

motion practice what the parties could have resolved between themselves. See Part E

(“Aborted Attempt To Meet and Confer”). Had Mr. Harris continued to meet and

confer, he would have learned earlier this week that, although Defendants disagree

with him on the merits of his position on the breadth of the class, they were (and are)

willing and prepared to produce the names and contact information of the CAPGONE

borrowers to KCC.

      Lastly, Plaintiff’s request for civil-contempt sanctions “to pay (1) the costs and

expenses of administering a supplemental round of Class Notices and exclusion

requests … and (2) the attorneys’ fees and expenses incurred by the Class to discover

and prove Defendants’ lack of compliance…” is improper. (Pls.’ Br. at 13.) Civil-

contempt sanctions are available “to compensate an aggrieved party for losses

sustained as a result of the contemnor’s disobedience of a court’s order or decree made

for the aggrieved party’s benefit.” CQ Sand, LLC v. Range Mgmt. Sys., LLC, 278 F. Supp.




                                            16
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 17 of 20



3d 1115, 1125 (W.D. Wis. Sept. 30, 2017) (quoting Jones v. Lincoln Elec. Co., 188 F.3d 709,

738 (7th Cir. 1999)). 3

       The Class has not sustained any losses from Defendants’ actions. Mr. Harris

would have been responsible for the costs of notifying the CAPGONE borrowers, along

with the rest of the class, had he had their names and account information earlier this

year. See Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 356 (1978) (noting that the

general rule is that the representative plaintiff bears the burden of notifying absent class

members, along with the associated cost of doing so); see also 1 MCLAUGHLIN ON CLASS

ACTIONS § 5:84 (16th ed. Oct. 2019 supp.) (“Absent unusual circumstances, however, the

expense defendants incur in assisting with the provision of notice should be borne by

plaintiffs.”). Not having included this small subset of borrowers in the initial class list

does not justify shifting the costs for notice to Defendants. Nor does it justify what

amounts to Mr. Harris’s premature request for attorneys’ fees related to his discovery

efforts on the CAPGONE issue. FED. R. CIV. P. 23(h) (governing the procedures for any

application for attorney’s fees by class counsel). The proper time to determine any

compensation for Class Counsel is after a determination on the merits. 5 William B.




3
 Furthermore, “a party’s good faith, even where it does not bar civil contempt, may help to
determine an appropriate sanction.” Taggart, 139 S. Ct. at 1802 (citing Young v. United States ex
rel. Vuitton et Fils S.A., 481 U.S. 787, 801 (1987) (“[O]nly the least possible power adequate to the
end proposed should be used in contempt cases.”)).


                                                 17
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 18 of 20



Rubenstein, NEWBERG ON CLASS ACTIONS § 15:9 (5th ed. July 2019 supp.) (“In class action

lawsuits, counsel typically apply for attorney's fees at the conclusion of the case.”).

II.    Defendants’ Denials of Plaintiff’s Requests for Admission Were not
       “Materially False and Misleading When Served” and Do Not Warrant
       Sanctions under Fed. R. Civ. P. 37(c)(2).

       These circumstances do not warrant sanctions under Rule 37, which are to “be

imposed only ‘where a party displays willfulness, bad faith, or fault.’” Frazier v. Layne

Christensen Co., 486 F. Supp. 2d 831, 845 (W.D. Wis. July 21, 2006) (quoting Langley by

Langley v. Union Elec. Co., 107 F.3d 510, 514 (7th Cir. 1997)). “Fault” requires an

assessment of “‘the reasonableness of [Defendants’] conduct—or lack thereof[.]’” Id.

(quoting Marrocco v. General Motors Corp., 966 F.2d 220, 224 (7th Cir. 1992)).

       As explained in subpart D (“Request for Admission No. 2”), Plaintiff’s Request

for Admission No. 2 never mentioned these CAPGONE borrowers and were, in fact,

broadly worded, somewhat cryptic, and tendentious—asking Defendants to admit that

they had violated the Court’s order to produce class-member names and contact

information to KCC. (Dkt. 282-1.) The requests made sense to Defendants only against

the backdrop of the issue that Class Counsel left unresolved at Ms. Lapham’s April 29,

2019 deposition, and Defendants thus answered the requests by denying them and

explaining that they had, in fact, used the scans taken immediately before the First

Remediation Project. (Dkt. 282-1.)




                                             18
      Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 19 of 20



       Defendants’ answers are not evidence of “willfulness, bad faith, or fault.” Frazier,

486 F. Supp. 2d at 831. Furthermore, Defendants had a “reasonable ground” or “other

good reason” for denying the Plaintiff’s requests under subparts (C) and (D) of Rule

37(c)(2), given the Court’s first decision on class certification. See Fed. R. Civ. P.

37(c)(2)(C) (providing that the court must order sanctions “unless … the party failing to

admit had a reasonable ground to believe that it might prevail on the matter”); Fed. R.

Civ. P. 37(c)(2)(D) (same if “there was other good reason for the failure to admit”).

                                       CONCLUSION

       The Court should deny Plaintiff’s motion to compel, for civil contempt, and for

sanctions.

       This case should remain scheduled for trial on March 2, 2020. To expedite

matters, and in light of Mr. Harris’s decision to stop participating in the meet-and-

confer process, Defendants have provided KCC with the names and contact information

for the CAPGONE borrowers as of today. Defendants are amenable to his giving these

borrowers class notice, with the question of whether they are actually class members

reserved for later determination, if necessary.




                                              19
                 Case: 3:15-cv-00475-jdp Document #: 285 Filed: 11/01/19 Page 20 of 20



                 Dated this 1st day of November, 2019.

                                                 s/ Eric G. Pearson

                                                 Thomas L. Shriner, Jr.
                                                 Eric G. Pearson
                                                 Aaron R. Wegrzyn
                                                 FOLEY & LARDNER LLP
                                                 777 East Wisconsin Avenue
                                                 Milwaukee, Wisconsin 53202-5306
                                                 (414) 271-2400 Telephone
                                                 (414) 297-4900 Facsimile
                                                 Email: tshriner@foley.com
                                                 Email: epearson@foley.com
                                                 Email: awegrzyn@foley.com

                                                 Attorneys for Defendants Great Lakes
                                                 Educational Loan Services, Inc., Great Lakes
                                                 Higher Education Corporation, Jill Leitl,
                                                 David Lentz, and Michael Walker




                                                    20
4832-1183-7611
